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                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    November 29, 2021

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Portland, OR 97204

       Re:      United States v. Jonathan Peter Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

       I have uploaded to USAfx an additional batch of discovery entitled “2021.11.29 – Sensitive
Discovery (1B7, 8, 10 Review).” Please note, the government reserves the right to modify these
designations to the extent an item’s sensitivity was not properly categorized in this preliminary
discovery. Please let us know if there are any items for which you would like a designation to be
reviewed or reconsidered.

                                                    Sincerely,

                                                    s/ Christopher K. Veatch
                                                    CHRISTOPHER K. VEATCH
                                                    Assistant United States Attorney
